 Case: 1:19-cv-01375 Document #: 16 Filed: 05/08/19 Page 1 of 3 PageID #:97



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

ART LOGISTICS, INC.,                          )
           Plaintiff,                         )       Case No. 19 CV 1375
                                              )
       v.                                     )
                                              )
KING’S EXPRESS INC., and                      )
DENNIS McCORMICK,                             )
INFINITY LOGISTICS, INC.                      )
           Defendants.                        )

   PLAINTIFF’S MOTION FOR JUDGMENT ON THE ANSWER OF THIRD
      PARTY CITATION RESPONDENT AND TURNOVER OF FUNDS

       NOW COMES the Plaintiff, Art Logistics, Inc., by and through its attorneys,

Sullivan Hincks & Conway, and Art Logistics hereby moves this Honorable Court for an

Order of Judgment on the Answer of Third Party Citation Respondent, Wells Fargo Bank,

N.A., and for Turnover of Funds. In support, Art Logistics states as follows:

       1.      On April 19, 2019, a final Order of Judgment was entered in this Court in

favor of the Plaintiff, Art Logistics, and against, as relevant here, Kings Express, Inc., in

the total amount of $149,750.00 plus costs in the amount of $585.00. See Exhibit A

[Docket 12]. There is now due, less credit and off-set, the sum of $150,335.00 from King’s

Express, Inc. (Judgment Balance against Kings Express, Inc.).

       2.      A Citation to Discover Assets was served on Third Party Wells Fargo Bank,

N.A. (hereinafter “Wells Fargo”) on April 25, 2019, and a Notice of Citation was mailed

via first class mail to Kings Express, Inc. c/o its President at his last known address. See

Citation, Notice and Certificate of Mailing, attached hereto as Exhibit B.

       3.      Wells Fargo filed its Answer on May 8, 2019, indicating that Wells Fargo

is in possession of non-exempt funds belonging to Kings Express, Inc. and indicating that



                                             1
 Case: 1:19-cv-01375 Document #: 16 Filed: 05/08/19 Page 2 of 3 PageID #:98



$300,670.00 in a checking account was being withheld. See Wells Fargo’s Answer,

attached hereto as Exhibit C.

       4.      Supplementary proceedings to enforce a judgment are governed by Federal

Rule of Civil Procedure 69(a) which provides that a district court is to use state procedure

governing the execution of any such judgment. Fed. R. Civ. P. 69(a).

       5.      Section 5/2-1402 of the Illinois Code of Civil Procedure provides that when

assets of a judgment debtor not exempt from the satisfaction of a judgment are discovered,

a court may enter an order or judgment compelling the person cited to deliver said assets.

735 ILCS 5/2-1402.

       6.      As such, the Plaintiff is entitled to the non-exempt property of Kings

Express, Inc., the Judgment Debtor, in full satisfaction of the Judgment Balance remaining

due.

       WHEREFORE, the Plaintiff, Art Logistics, Inc., respectfully requests that this

Court enter a Judgment on its Third Party Citation and order Third Party Citation

Respondent, Wells Fargo, to turnover to Plaintiff in satisfaction of the judgment, the

property of judgment debtor, Kings Express, Inc., in the amount of $150,335.00, and for

such other relief that this Court deems just and proper.


                                                      Respectfully submitted,
                                                      ART LOGISTICS, INC.

                                              By:     /s Matthew P. Barrette
                                                      One of Its Attorneys




                                             2
 Case: 1:19-cv-01375 Document #: 16 Filed: 05/08/19 Page 3 of 3 PageID #:99



Matthew P. Barrette
SULLIVAN HINCKS & CONWAY
120 West 22nd Street, Suite 100
Oak Brook, IL 60523
Ph: (630) 573-5021
Fx: (630) 573-5130
mattbarrette@shlawfirm.com




                                     3
